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                                                                                                     United States Bankruptcy Court
                                                                                                         Southern District of Texas

                                                                                                            ENTERED
                                                                                                        September 21, 2023
                                UNITED STATES BANKRUPTCY COURT                                           Nathan Ochsner, Clerk
                                  SOUTHERN DISTRICT OF TEXAS
                                        HOUSTON DIVISION
                                                                §
In re:                                                          § Chapter 11
                                                                §
STRUDEL HOLDINGS LLC and                                        § Case No. 23-90757 (CML)
AVR AH LLC,                                                     §
                                                                § (Jointly Administered)
                     Debtors.1                                  §
                                                                §

STIPULATION AND AGREED ORDER REGARDING MOTION SEEKING ENTRY OF
   AN ORDER PRECLUDING CERTAIN ALLEGED SECURED PARTIES FROM
 SUBMITTING CREDIT BIDS PURSUANT TO SECTIONS 105(a) AND 363(k) OF THE
                         BANKRUPTCY CODE
                          (Relates to Doc. No. 6)

           This Stipulation and Agreed Order (the “Stipulation”) is entered into by and between

Strudel Holdings LLC and AVR AH LLC (collectively, the “Debtors”) and Nineteen77 Capital

Solutions A LP and Bermudez Mutuari, Ltd. (together, the “Lenders”), and Wilmington Trust

National Association, in its capacity as Administrative Agent (the “Administrative Agent” and

together with the Lenders, the “Lender Parties” and together with the Debtors, the “Parties”).

           The Parties hereby stipulate and agree as follows:

           WHEREAS, on July 27, 2023, the Debtors filed their Motion Seeking Entry of an Order

Precluding Certain Alleged Secured Parties from Submitting Credit Bids Pursuant to Sections

105(a) and 363(k) of the Bankruptcy Code (Doc. No. 6) (the “Credit Bid Motion”);

           WHEREAS, on August 10, 2023, the Court entered the Order (I) Approving the Bidding

Procedures, (II) Scheduling Certain Dates with Respect Thereto, (III) Approving the Form and




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    The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
    AVR AH LLC (0148) and Strudel Holdings LLC (5426). The Debtors’ service address is: PO Box 4068, Aspen,
    CO 81612.


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Manner of Notice Thereof, (IV) Approving Contract Assumption and Assignment Procedures, and

(V) Granting Related Relief (Doc. No. 53) (the “Bid Procedures Order”);

       WHERAS, the Bid Procedures Order scheduled the General Bid Deadline on September

19, 2023, an auction on September 27, 2023, a sale objection deadline of October 2, 2023, and a

sale hearing on October 5, 2023 at 2:00 p.m.;

       WHEREAS, on September 7, 2023, the Lender Parties responded to the Credit Bid Motion

(Doc. No. 108);

       WHEREAS, on September 8, 2023, the Debtors filed a Notice of Amended Bid Deadlines

(Doc. No. 107), which extended the General Bid Deadline to September 25, 2023 (the “Amended

Bid Deadlines”);

       WHEREAS, on September 10, 2023, the Debtors filed the Emergency Motion to Terminate

Consultation Rights and Immediately Disqualify Credit Bid (Doc. No. 114) (the “Motion to

Terminate”);

       WHEREAS, on September 11, the Lender Parties responded to the Motion to Terminate

and the Amended Bid Deadlines (Doc. No. 117);

       WHEREAS, the Parties have agreed on a compromise regarding the Credit Bid Motion,

the Amended Bid Deadlines, and the Motion to Terminate as set forth herein.

       Accordingly, it is hereby ORDERED that:

       1.      The Lender Parties shall not exercise any right to credit bid at the Auction provided

that the Debtors receive a bona fide third-party bid (that otherwise meets the Qualified Bidder

requirements set forth in the Bid Procedures Order) from an entity that is not an insider or affiliate

of the Debtors that would result in net cash sales proceeds of not less than $40 million.

       2.      The net sales proceeds shall be held in trust in a segregated bank account subject to

the Lender Parties’ liens, with all of the Debtors’ rights and arguments disputing the validity and

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enforceability of the Lender Parties’ claims and liens expressly reserved. The net sales proceeds

shall remain in trust and the Debtors shall have no right to use any such proceeds for any purpose

pending: (i) an agreement of the Parties approved by Court order, (ii) a final judgment by the Court

in Adversary Proceeding No. 23-9003, or (iii) in the event that these Chapter 11 Cases are

dismissed, a final judgment in a New York state or federal court of competent jurisdiction.

       3.      As a condition to the effectiveness of this Stipulation, the Debtors shall file a

Second Notice of Amended Bid Deadlines notifying parties of the following amended dates under

the Bid Procedures Order:

 General Bid Deadline                                September 29, 2023, at 5:00 p.m. Central
                                                     Time
 Auction (If Required)                               October 3, 2023, at 9:00 a.m. Mountain
                                                     Time, which such auction to take place in
                                                     person at the AVR property in Aspen,
                                                     Colorado; provided that any Qualified
                                                     Bidder may alternatively participate in the
                                                     auction remotely via videoconference
 Deadline for Objections to Approval of any          October 4, 2023, at 5:00 p.m. Central Time
 Winning Bid (including Back-Up Bids),
 including objections based on the manner in
 which the Auction was conducted and the
 identity of the Winning Bidder, whether
 submitted prior to, on, or after the Bid Deadline
 (the “Sale Objection Deadline”)
 Sale Hearing                                        October 5, 2023, at 2:00 p.m. Central Time
 Closing Date Deadline                               The date that is 15 days after entry of an
                                                     order approving any Sale

       4.      In the event that the Debtors do not receive a bid at the Auction that satisfies the

requirement of paragraph 1, the Debtors may request a hearing on the Credit Bid Motion on at

least 7 days’ notice.




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        5.      All pending depositions and discovery related to the Credit Bid Motion shall be

held in abeyance without prejudice to the Parties ability to continue them in the event that the

Credit Bid Motion is calendared for a hearing in accordance with the terms hereof.

        6.      The Debtors shall file a notice of withdrawal of the Motion to Terminate without

prejudice.

        7.      This Stipulation and Agreed Order shall be binding upon the Parties’ successors,

agents, assigns, including bankruptcy trustees and estate representatives, and any parent,

subsidiary, or affiliated entity of the Parties.

        8.      The Bankruptcy Court retains jurisdiction with respect to all matters arising from

or related to the implementation of this Stipulation and Agreed Order, and the Parties hereby

consent to such jurisdiction to resolve any disputes or controversies arising from or related to this

Stipulation and Agreed Order.

        Dated: September 21, 2023
               Houston, Texas
                 August 02,
                September    2019
                           21, 2023
                                                   HONORABLE CHRISTOPHER M. LOPEZ
                                                   UNITED STATES BANKRUPTCY JUDGE


STIPULATED AND AGREED TO BY:

PORTER HEDGES LLP

 /s/ Joshua W. Wolfshohl
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Aaron J. Power (TX 24058058)
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and

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